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UNITED STATES DISTzuCT COURT
SOUTHERN DISTRICT OF NEW YORK

LY, et al.,
                                                                             03   cv   9917 (LJP)
                                                   Plaintiffs,
                                                                             IPROPOSEDI
                  - against -                                                ORDER
NEW YORK CITY DEPARTMENT OF EDUCATION,                           eT
ql.,

                                                   Defendants




       WHEREAS, by Order dated January 28,2021, the Court granted Plaintiffs' motion for the
appointment of a Special Master;

            WHEREAS, by Order dated April 14,2021, the Court appointed David Irwin of Thru-Ed
as Special Master in this action;

       WHEREAS, by Order dated May 14,2021(the "May 14,2021Order")o the Court set forth
the Special Master's duties and scope of authority;

            WHEREAS, on June 11,2021, the Special Master submitted      a   work plan for the Court's
approval;

       WHEREAS, on September 2,2021, the Court entered an Order adopting the work plan
submitted by the Special Mastero as modified by that Order (the "Work Plan");

       WHEREAS, in order for the Special Master to perform his duties as set forth in the May
14,2021 Order and further memorialized in the Work Plan, he and consultants and employees of
Thru-Ed must review information and documents maintained by the New York City Department
of Education ("NYC DOE"), including documents and information maintained in various DOE
databases, which contain confidential student identifuing information protected by the Family
Educational Rights and Privacy Act of 1974,20 U.S.C. g 1232g("FERPA");

       WHEREAS, DOE asserts that before it may properly provide the Special Master and
consultants and employees of Thru-Ed with access to FERPA-protected information, FERPA
requires that parents be provided notice and an opportunity to object to the disclosure;

            NOW, THEREFORE,IT IS HEREBY ORDERED AS FOLLOWS:
       l.   DOE shall provide to the Special Master and consultants and employees of Thru-Ed such
            information and documents (paper and electronic) as may be reasonably necessary for the
            Special Master to perform his duties and responsibilities pursuant to the May 14,2021
            Order and the Work Plan, including information and documents containing FERPA-
            protected information.
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2.   Such disclosure shall be qubject to the notice and objection procedures set forth below

                                          NOTICE
3.   By no later than five (5) business days after the filing ofthis Order, and continuing through
     the conclusion of the Special Master's duties, Defendant NYC DOE shall cause the
     Notice, annexed hereto as Exhibit A, and Objection Form (Exhibit B) to be posted on or
     in, or shall cause a link to the Notice and the Objection Form to be posted on or in:

         a. the NYC DOE website (on the page pertaining to impartial hearings); and
         b. once impartial hearings resume in-person, the bulletin board in the impartial
            hearing office on the second floor of 131 Livingston Street, Brooklyn, NY.

4. The Notice shall be posted on the DOE's website         in HTML form in order to allow for
     automated translations into other languages. The Objection Form will be translated into
     the following languages and posted on the website: Spanish, Arabic, Bengali, Chinese,
     French, Haitian Creole, Korean, Russian, and Urdu.

5.   NYC DOE shall cause the Notice to accompany all impartial hearing orders issued from
     five (5) business days after the filing of this Order until the conclusion of the Special
     Master's duties.

6. By no later than five (5) business days after the filing of this Order, NYC DOE shall provide
     a copy of the Notice and Objection Form to Plaintiffs' counsel for them to post on their
     website and to distribute as they deem appropriate to other advocacy organizations and
     attorneys with a request that they post the Notice and Objection Form on their websites.

                                         OBJECTIONS

7. All    objections to the disclosure of a student's records and the protected personal
     information contained therein shall be communicated in writing and mailed or emailed to
     DOE's counsel at the address provided on the Notice and Objection Form by no later than
     three (3) weeks after DOE provides the Notice and Objection Form to Plaintiffs' counsel,
     except that for impartial hearing orders issued after that date, objections shall be mailed or
     emailed within 3 weeks of the issuance of the impartial hearing order. The objections shall
     be kept confidential, and will be provided only to NYC DOE. No objection will be rejected
     because it is not submitted on the Objection Form.


8.   No document concerning a student whose parents or legal guardians object (or if over the
     age of 18 or emancipated, who themselves object) shall be produced to the Special Master.
     However, notwithstanding the filing of an objection, the Special Master may have nominal
     and incidental access to the names of students on behalf of whom an objection was filed,
     and such nominal or incidental access shall not be deemed a violation of FERPA.


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9.   Consistent with the Order appointing David Irwin as the Special Master, any confidential
     student information may be disclosed only to other employees or consultants of Thru-Ed
     for the purpose of performing the work described in the May 14, 2021 Order and further
     memorialized in the Work Plan. Confidential information may be discussed with NYC
     DOE employees for the purpose of conducting the required work. No confidential student
     information will be disclosed to Plaintiffs' counsel or to any Plaintiff other than the person
     about whom the records pertain. No records filed with the court shall contain any student
     identifying information. The Special Master may include in court filing aggregate
     information based upon information received the NYC DOE, so long that it does not
     identify any specific student.

                                                           SO ORDERED:




                                                           Loretta J. Preska
                                                           U.S. District Judge

     Dated:   November 4, 2021




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              L.V. v. NYC Department of Education. 03 Civ. 99{7 {SDNY)


Parents of children with lndividualized Education Programs who received or who may
receive an order at the conclusion of an impartial hearing should read the attached notice
about possible disclosure of information and documents about their children as part of a
federal court litigation.

Translations in Spanish, Arabic, Bengali, Chinese, French, Haitian Creole, Korean,
Russian, and Urdu are available on the DOE webpage at [to be determined].

l.      Notice of Potential Disclosure of Student Education Records
Please read this notice carefully. This is a me$sage about possible disclosure of
documents or data that might contain information about your child, if your child has been
classified as a student with a disability and has been or may be the subject of a final
lmpartial Hearing Order.

ll.     Nature of the Lawsuit
This lawsuit challenged the failure of the Department of Education ("DOE") of the City of
New York to timely implement orders issued by impartial hearing officers in connection
with impartial hearings held pursuant to the lndividuals with Disabilities Education Act
("lDEA"), 20 U.S.C. $ 1400, ef seq. and N.Y. Education Law $ 4401, ef seq. ln 2007, the
parties entered into a Stipulation of Settlement (the "Stipulation") in which the DOE agreed
to timely implement these orders.

ln January 2A21, the Court granted plaintiffs' motion for the appointment of a special
master. On April 14,2021, the Court entered an Order appointing David lnrvin of Thru-Ed
as the Special Master. On May 14,2021, the Court entered an Order detailing the duties
and authority of the Special Master which include, among other things, the authority to
review DOE's processes for implementing impartial hearing orders and to recommend to
the Court improvements to enable DOE to timely implement orders a. Pursuant to this
Order, the Special Master may have access to education records of students, upon DOE's
compliance with the Family Education Rights and PrivacyAct (20 U.S.C. g 12329; 34
C.F.R. Part 99) ("FERPA').
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lll.     Data Ordered to Be Disclosed

ln order for the Special Master to perform his duties, the Court has directed the DOE to
provide the Special Master (and employees and consultants at Thru-Ed) with access to
records containing confidential student record information, including, but not limited to,
documents submitted in the impartial hearing process, impartial hearing orders, data
about compliance, and students' special education documents, such as individualized
education programs, evaluations, authorizations, invoices, etc. The Special Master is
required to keep any student documents and information confidential. No student-specific
information will be shared with plaintiffs' counsel unless the student's parent specifically
consents. lf there is any student-specific information in the Special Master's reports to the
Court, that information would not be made public"

The Special Master will use this information only for his work to review DOE's processes
for implementing impartial hearing orders and to recommend to the Court improvements
to enable DOE to timely implement orders. The disclosure of this information does not
affect any of your rights as a parent to seek special education services for your child.

lV.      Objections to Disclosure

lf you agree to the disclosure of this information to the Special Master, you do not need
to do anything more.

lf you do not want your child's information shared with the Special Master, you must object
to this disclosure by submitting an objection to DOE's attorney, addressed to:

                              Jeffrey S. Dantowitz
                              NYC Law Department
                              100 Church Street, Room 2-121
                              New York NY 10007

or via email at LVObjection@law.nyc.gov. Please reference the LV v. DOE lawsuit (Case
No.03-9917) when writing. An Objection Form accompanies this Notice, though no
written objection will be rejected if it is not submitted on this form. lf you object, no records
containing you and your child's personally identifiable information or other FERPA-
protected information will be provided to the Special Master, although nominal and
incidentaldisclosure of your child's name may occur. Any objections must be received
by [insert date, to be determined] or for impartial hearing orders issued after
Novembet     _02021,      within   3   weeks of the issuance of the impartial hearing order.

lf you would like more information about this notice, please contact the attorneys
for plaintiffs, Rebecca Shore, of Advocates for Ghildren of New York, lnc. at 646-
532-6078.



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                       OBJECTION TO DISCLOSURE OF RECORDS
                            LV v. DOE,03 Civ.9917 (SDNY)



If you agree to the release of information about your child to the Special Master appointed in
L.V. v. DOE, you do not need to complete this form.

If you object to the release of information about your child to the Special Master appointed in
L.V. v. DOE, please compete and return this form to:

                       Jeffrey S. Dantowitz
                       NYC Law Department
                       100 Church Street, Room 2-121
                       New York, NY 10007

or via email at LVObjection@law.nyc.gov

Child's name:

Name:

Address:

Impartial Hearing Order Case # (if known):

Date of Order   (if known)


                If you object to the release of your confidential information, please check the line
                below:

                             I do not agree to have my confidential records disclosed to the Special
                Master in L.V. v. DOE.




        Date                                                   Please sign here
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If you object to the release of information, your objection must be received by [insert date, to be
determined] or, for impartial hearing orders issued after [insert date of Order], within 3 weeks of
the issuance of the impartial hearing order.
        *    *    * If you do not notify the DOE of your objections to the documents          being
released, you child's information   will   be provided to the Special Master appointed in LV v. DOE,
99 Civ. 9917 (SDNY) and/or consultants and employees of Thru-Ed. The information will
remain confidential and the disclosure of this information will not affect any of your rights to
seek special education services for your child.




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